                             UNITED STATES JUDICIAL PANEL
                                          on
                               MULTIDISTRICT LITIGATION


IN RE: AHERN RENTALS, INC.,
TRADE SECRET LITIGATION                                                                MDL No. 2945



                                       TRANSFER ORDER


        Before the Panel: Common defendant EquipmentShare.com Inc. moves under 28 U.S.C. §
1407 to centralize this litigation in the District of Nevada. This litigation currently consists of ten
actions pending in eight districts, as listed on Schedule A. The Panel also has been notified of two
potentially-related actions in the Northern District of Texas and the Western District of Missouri.1
Responding defendants—thirteen individuals named in nine actions—join the motion. Common
plaintiff in all actions, Ahern Rentals, Inc., opposes centralization and, if the Panel orders
centralization over plaintiff’s objections, supports selection of the District of Nevada as the
transferee district.

        On the basis of the papers filed and hearing session held,2 we find that the actions listed on
Schedule A involve common questions of fact, and that centralization in the Western District of
Missouri will serve the convenience of the parties and witnesses and promote the just and efficient
conduct of this litigation. These actions share factual questions arising from allegations of a
nationwide scheme by EquipmentShare to capture market share in the equipment rental business
from Ahern by (1) luring away its employees and customers, and (2) using Ahern’s confidential and
proprietary information and trade secrets. Centralization will eliminate duplicative discovery,
prevent inconsistent pretrial rulings, and conserve the resources of the parties, their counsel, and the
judiciary.

       In opposing centralization, plaintiff argues that the allegations and discovery in these actions
are focused on the individual defendants and their alleged misconduct, which plaintiff claims is
“highly localized.” Plaintiff alleges that the individual defendants, all of whom are former Ahern
employees now employed by EquipmentShare,3 assisted EquipmentShare in its scheme by taking


        1
                These and any other related actions are potential tag-along actions. See Panel Rules
1.1(h), 7.1, and 7.2.
        2
               In light of the concerns about the spread of COVID-19 virus (coronavirus), the Panel
heard oral argument by videoconference at its hearing session of July 30, 2020. See Suppl. Notice
of Hearing Session, MDL No. 2945 (J.P.M.L. Jul. 14, 2020), ECF No. 49.
        3
               The only exception is Ms. Martinez in the District of Arizona Martinez action, who
was sued to include Mr. Martinez’s marital community.


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actions such as soliciting Ahern employees and customers and taking Ahern confidential and
proprietary information and trade secrets while still employed by Ahern. While plaintiff alleges
misconduct unique to each individual defendant, EquipmentShare is alleged to have engaged in a
“nationwide conspiracy” to encourage and abet such conduct by Ahern employees. According to
Ahern, EquipmentShare intends to ruin Ahern’s business nationwide and steal its market share.
These allegations are most fully set forth in the complaint in one District of Nevada action (the
RICO action), which names only EquipmentShare and asserts a nationwide conspiracy in violation
of federal racketeering and antitrust statutes, among other claims. The RICO complaint includes as
evidence of this conspiracy many of the allegations made against the individual defendants in more
than half of the actions also before the Panel. Overlapping discovery between at least these actions
and the RICO action therefore is likely. And indeed, defendants assert that Ahern has served
overlapping discovery requests and deposition notices already.

        Ahern also argues that informal coordination is a practicable and preferable alternative to
centralization, particularly as EquipmentShare is represented by common counsel in all actions. We
have held that Section 1407 centralization “should be the last solution after a considered review of
all other options.” In re Capacitors Antitrust Litig. (No. II), 223 F. Supp. 3d 1340, 1342 (J.P.M.L.
2016). But discovery in these actions, including when to begin taking it and its scope, already has
been contentious. EquipmentShare cites an increasing number of discovery disputes in the
underlying actions as evidence that informal coordination is not feasible.

        On balance, we find that centralization is preferable to informal coordination here. While
we strongly encourage informal coordination, proceedings to date indicate that a single court can
more effectively manage the discovery disputes that have arisen and appear likely to arise, including
those relating to discovery from third party witnesses, depositions of apex witnesses, and the scope
of relevant discovery, generally. Moreover, there are twelve actions pending in ten districts, and
Ahern is represented by different counsel in half of the pending actions. Consequently, voluntary
coordination across these dispersed districts appears problematic.

       We will centralize these actions in the Western District of Missouri, where the parties
revealed at oral argument that a related action recently was filed by EquipmentShare against Ahern.4
EquipmentShare is headquartered in Columbia, Missouri, and therefore, relevant documents and
witnesses likely will be found there. We will assign these actions to the Honorable Beth Phillips,


       4
                EquipmentShare brings claims in this action against Ahern and its Chief
Development Officer, Cory Rosencranse. EquipmentShare alleges that (1) Mr. Rosencranse feigned
an interest in employment with EquipmentShare to secure a meeting with EquipmentShare’s Chief
Executive Officer and illicitly recorded their conversation to obtain information about
EquipmentShare’s operations and business; (2) Ahern interfered with EquipmentShare’s business
relationships, including its relationships with certain financial institutions; and (3) Ahern has
improperly used the present litigation before the Panel, as well as other actions it has filed in state
court, to disrupt EquipmentShare’s business relationships, discourage Ahern employees from
seeking employment with EquipmentShare, and put it out of business.


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an experienced jurist with the ability and willingness to manage this litigation efficiently. We are
confident she will steer this matter on a prudent course.

        IT IS THEREFORE ORDERED that the actions listed on Schedule A are transferred to the
Western District of Missouri, and, with the consent of that court, assigned to the Honorable Beth
Phillips for coordinated or consolidated pretrial proceedings.




                                       PANEL ON MULTIDISTRICT LITIGATION




                                                      Karen K. Caldwell
                                                            Chair

                                      Ellen Segal Huvelle            R. David Proctor
                                      Catherine D. Perry             Nathaniel M. Gorton
                                      Matthew F. Kennelly            David C. Norton




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                                    SCHEDULE A


          District of Arizona

     AHERN RENTALS, INC. v. EQUIPMENTSHARE.COM INC., ET AL.,
         C.A. No. 2:20-00705

          Eastern District of California

     AHERN RENTALS, INC. v. EQUIPMENTSHARE.COM, INC., ET AL.,
         C.A. No. 2:19-01788

          District of Colorado

     AHERN RENTALS, INC. v. EQUIPMENTSHARE.COM, INC., ET AL.,
         C.A. No. 1:20-00941

          District of Nevada

     AHERN RENTALS, INC. v. EQUIPMENTSHARE.COM, INC., C.A. No. 2:19-02138
     AHERN RENTALS, INC. v. WADE, ET AL., C.A. No. 2:20-00094

          District of South Carolina

     AHERN RENTALS, INC. v. MEADOWS, ET AL., C.A. No. 2:19-02823
     AHERN RENTALS, INC. v. DONATO, ET AL., C.A. No. 2:20-01428

          Southern District of Texas

     AHERN RENTALS, INC. v. EQUIPMENTSHARE.COM INC., ET AL.,
         C.A. No. 2:20-00046

          District of Utah

     AHERN RENTALS, INC. v. MCCORMAC, ET AL., C.A. No. 2:19-01003

          Western District of Washington

     AHERN RENTALS, INC. v. MENDENHALL, ET AL., C.A. No. 2:20-00542




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